                                   Caseyour
     Fill in this information to identify 23-17431-LMI
                                            case:                  Doc 1        Filed 09/15/23            Page 1 of 10
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Florida      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        665  Home, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               665 NE 117th St.                                         7114  E. Warren Dr.
                                                                                                        _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number      Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Miami                       FL      33161
                                           ______________________________________________
                                                                                                        Denver                     CO      80224
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Miami-Dade County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                665 Home, LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         
                                         ✔ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                             _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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               665 Home, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______     ________________
                                                                              City                                           State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million
                                           ✔
                                                                             $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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             665 Home, LLC
Debtor       _______________________________________________________                             Case number (if known)_____________________________________
             Name



                                          $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million
                                          ✔
                                                                               $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            09/15/2023
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/ Sean Schwalb
                                              _____________________________________________               Sean Schwalb
                                                                                                         _______________________________________________
                                              Signature of authorized representative of debtor           Printed name

                                                     Managing Member
                                              Title _________________________________________




18. Signature of attorney
                                          /s/ Paul DeCailly
                                              _____________________________________________              Date         09/15/2023
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM   / DD / YYYY



                                              Paul DeCailly
                                              _________________________________________________________________________________________________
                                              Printed name
                                              Paul DeCailly
                                              _________________________________________________________________________________________________
                                              Firm name
                                              PO Box 17793
                                              _________________________________________________________________________________________________
                                              Number     Street
                                              Clearwater
                                              ____________________________________________________            FL             33762
                                                                                                             ____________ ______________________________
                                              City                                                           State        ZIP Code

                                              (727) 824-7709
                                              ____________________________________                              pdecailly@dlg4me.com
                                                                                                             __________________________________________
                                              Contact phone                                                  Email address



                                              796301                                                          FL
                                              ______________________________________________________ ____________
                                              Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Bayport Funding, LLC
98 CutterMill Rd.
Ste 424N
Great Neck, NY 11021


Sean Schwalb
7114 E. Warren Dr.
Denver
CO 80224
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                             United States Bankruptcy Court
                             Southern District of Florida




         665 Home, LLC
In re:                                                        Case No.

                                                              Chapter    11
                    Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              09/15/2023                        /s/ Sean Schwalb
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Managing Member
                                                Position or relationship to debtor
                        Case 23-17431-LMI         Doc 1      Filed 09/15/23      Page 7 of 10

                                          United States Bankruptcy Court
IN RE:                                                                Case No.__________________
665 Home, LLC                                                                    11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder     Shares                 Security Class
                                                               (Or Percentage)        (or kind of interest)

 Sean Schwalb                                                 100                     Managing member
 7114 E. Warren Dr., Denver, CO 80224
     B2030 (Form 2030) Case
                       (12/15)23-17431-LMI                          Doc 1         Filed 09/15/23              Page 8 of 10


                                      United States Bankruptcy Court
                                                              Southern District of Florida
                                               __________________________________
     In re 665 Home, LLC
                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         5,000.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 5,000.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify) PHS Rent, LLC

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Preparation of schedules and statements, meeting of creditors, contested matters and adversary proceedings.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
      Case 23-17431-LMI          Doc 1      Filed 09/15/23      Page 10 of 10




                                      CERTIFICATION
 I certify that the foregoing is a complete statement of any agreement or arrangement for
     payment to me for representation of the debtor(s) in this bankruptcy proceeding.

  09/15/2023                       /s/ Paul DeCailly, 796301
_____________________             _________________________________________
Date                                    Signature of Attorney
                                   Paul DeCailly
                                  _________________________________________
                                       ​Name of law firm
                                   PO Box 17793
                                   Clearwater, FL 33762
